                                           UNITED STATES DISTRICT COURT
                                           WESTERN DISTRICT OF MISSOURI

                                       CRIMINAL CASE COVER SHEET
County of Offense / Division of Filing                          Matter to be Sealed
                                                                                        ■   Secret Indictment
Greene / Southern
                                                                                            Juvenile
Defendant Information
Defendant Name:              JAMES L. BROWN

Alias Name:

Birth Date:                  00/00/1973
Related Case Information
Superseding Indictment?              Yes     ■   No If yes, original case number:
New Defendant(s)?                ■   Yes         No
Prior Complaint Case Number, if any:          NA

Prior Target Letter Case Number, if any: NA
U.S. Attorney Information
AUSA Byron Black

Interpreter Needed?
    Yes    Language and/or Dialect:
■   No

Location Status
Arrest Date:
    Currently in Federal Custody                                                      Writ Required?                 Yes     ■   No
    Currently in State Custody                                                                                   ■   Yes         No
                                                                                      Warrant Required?
    Currently on Bond

U.S.C. Citations
Total # of Counts           5

     Set                         Index Key & Description of Offense Charged                                     Count(s)

      1        21:846=CD.F CONSPIRACY TO DISTRIBUTE CONTROLLED SUBSTANCE                                             1

      2        21:841B=CP.F CONTROLLED SUBSTANCE - POSS. WITH INTENT TO DISTRIB.                                 5, 12

      3        18:924C.F VIOLENT CRIME/DRUGS/possess firearm in furtherance of drug crime.                           6

      4        18:922G.F UNLAWFUL TRANSPORT OF FIREARMS/drug user in poss. of firearm                                7



                                                      (May be continued on reverse)                             Revised: 04-25-2018
